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 PAUL, WEISS, RIFKIND, WHARTON                         MARINO, TORTORELLA & BOYLE, P.C.
 & GARRISON LLP                                        Kevin H. Marino
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 New York, NY 10019
 Tel: (212) 373-3000
 Fax: (212) 757-3990

 Attorneys for Defendants Exxon Mobil Corp.
 and ExxonMobil Oil Corp.

                               UNITED STATES DISTRICT COURT
                                  DISTRICT OF NEW JERSEY

 CITY OF HOBOKEN                                        Case No. 2:20-cv-14243-JMV-MF
                         Plaintiff,                      Hon. John M. Vazquez, U.S.D.J.

                  v.
                                                            CONSENT ORDER ADMITTING
 EXXON MOBIL CORP, EXXONMOBIL                            DANIEL J. TOAL, YAHONNES CLEARY
 OIL CORP, ROYAL DUTCH SHELL PLC,                           AND CAITLIN E. GRUSAUSKAS
 SHELL OIL COMPANY, BP P.L.C., BP                                   PRO HAC VICE
 AMERICA INC., CHEVRON CORP,
 CHEVRON U.S.A. INC.,
 CONOCOPHILLIPS, CONOCOPHILLIPS
 COMPANY, PHILLIPS 66, PHILLIPS 66
 COMPANY, AMERICAN PETROLEUM
 INSTITUTE,
                  Defendants.


          THIS MATTER having been brought before the Court by John D. Tortorella, Esq. of

 Marino, Tortorella & Boyle, P.C., attorneys for Defendants Exxon Mobil Corp. and ExxonMobil

 Oil Corp. (collectively “ExxonMobil”), on a motion for an Order allowing Daniel J. Toal, Esq.,

 Yahonnes Cleary, Esq., and Caitlin E. Grusauskas, Esq. of Paul, Weiss, Rifkind, Wharton &

 Garrison LLP to appear and participate pro hac vice; and all counsel having consented to the




 †
     Application for admission pro hac vice pending.
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 admission pro hac vice of Messrs. Toal and Cleary and Ms. Grusauskas; and the Court having

 considered the moving papers; and for good cause shown;

         IT IS on this 21st day of October, 2020

         ORDERED that Daniel J. Toal, Yahonnes Cleary, and Caitlin E. Grusauskas, members of

 the Bar of the State of New York, be permitted to appear pro hac vice in the above-captioned

 matter pursuant to L. Civ. R. 101.1(c); and it is further

         ORDERED that, all pleadings, briefs, and other papers filed with the Court shall be

 signed by a member or associate of the law firm of Marino, Tortorella & Boyle, P.C., attorneys

 of record for ExxonMobil, who is admitted to the Bar of this Court and shall be held responsible

 for said papers and for the conduct of the case, and who will be held responsible for the conduct

 of the attorneys admitted hereby; and it is further

         ORDERED that Daniel J. Toal, Yahonnes Cleary, and Caitlin E. Grusauskas each shall

 pay the annual fee to the New Jersey Lawyers’ Fund for Client Protection in accordance with

 New Jersey Court Rule 1:28-2 within twenty (20) days from the date of the entry of this order;

 and it is further

         ORDERED that Daniel J. Toal, Yahonnes Cleary, and Caitlin E. Grusauskas each shall

 make payment of $150.00 to the Clerk of the United States District Court in accordance with L.

 Civ. R. 101.1(c)(3), as amended, within twenty (20) days from the date of entry of this Order;

 and it is further

         ORDERED that Daniel J. Toal, Yahonnes Cleary, and Caitlin E. Grusauskas each shall

 be bound by the Rules of the United States District Court for the District of New Jersey,

 including, but not limited to the provisions of L. Civ. R. 103.1, Judicial Ethics and Professional

 Responsibility, and L. Civ. R. 104.1, Discipline of Attorneys; and it is further




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        ORDERED that Daniel J. Toal, Yahonnes Cleary, and Caitlin E. Grusauskas each shall

 be deemed to have agreed to take no fee in any tort case in excess of the New Jersey State Court

 Contingency Fee Rule, Rule 1:21-7, as amended.



                                     ____s/Mark Falk________________________
                                           HONORABLE MARK FALK, U.S.M.J.




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